Case 1:07-cv-01238-LG-RHW Document 173-5" Filed 99/28/09 Page 1 of 4

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ATTORNEYS AT LAW
A Professional Association

By Brown Buchanan

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Reply to: Biloxi

September 16, 2009
Via Facsimile & U.S. Mail
Ms. Haley N. Broom
Mr. Joe C. Gewin
Dukes, Dukes, Keating & Faneca
P.O. Drawer W
Gulfport, MS 39502-0680

Re: Gary Brice McBay v. Harrison County, MS, et al
United States District Court for the Southern District of Mississippi
Cause No. 1:07-cv-01205-LG-RHW

John Aaron Vanderburg v. Harrison County, MS, et al; United States District
Court for the Southern District of Mississippi, Southern Division
Cause No. ‘1:08-cv-90-LG-RHW

Marguerite Carrubba vy. Harrison n County, MS, et al; United States District Court
for the Southern District of Mississippi, Southern Division
Cause No. 1:07-cv-1238-LG-RHW

William David Seal v. Harrison County, MS, et al; United States District Court

for the Southern District of Mississippi, Southern Division,
Cause No. 1:08-cv-00175-LG-RHW

"Dear Haley & Joe:

Tam in receipt of deposition dates for Ken Katsarsis and Megan Ciota, as well as their
respective fee schedules. Please consider this my good faith attempt to resolve certain issues.

- First, as you know, the discovery deadline in these cases is October 1, 2009 and the
dispositive motion deadline is October 22, 2009. The proposed deposition dates are all after these
, deadlines. This is not acceptable. .

Second, I believe your experts need to travel here, at their own expense, for these depositions.

EXHIBIT

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Ms. Haley N. Broom
Mr, Joe C. Gewin
September 16, 2009
Page Two

The litigation is here. You decided to select out of state experts and I do not believe I am responsible
to travel out of state.

Third, Mr. Katsarsis fee is unreasonable. He wants to charge a minimum fee of $2,000 for
a five (5) hour minimum, then $400 per hour over five (5) hours. Dr. Ciota’s charge for a deposition
is $600 per hour. Both are excessive. I need a reasonable hourly fee, and should have to pay only
for the time I spend.

Pursuant to Rule 26(b)(4)(c) of the Federal Rules of Civil Procedure, I believe I am required
only to pay a reasonable fee for their deposition time. I do not believe I am required to pay travel
time, travel expenses or preparation time.

I would request you provide me deposition dates prior to the discovery deadline, and provide
me with a reasonable cost for both depositions.

Sincerely,

C4

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~ PATRICK R: BUCH

PRB/sg

CC: Mr. Mark V. Watts
W9011Broom-Gewin091609sg
Case 1:07-cv-01238-LG-RHW Document173-5 Filed 09/28/09 Page 3 of 4

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FACSIMILE TRANSMITTAL SHEET

DATE: September 16, 2009
TO: Haley N. Broom
Joe C. Gewin
FACSIMILE: 228-863-2886
_ FROM: ‘Patrick R. Buchanan
MESSAGE: See attached.

NUMBER OF PAGES: 3. (INCLUDING COVER)

ANY PROBLEMS - Call Sharon at (228) 374-2999

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